      Case 1:19-cv-08076-RA-BCM Document 154 Filed 11/02/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                      11/2/20
 EFCG, INC.,
                Plaintiff,                              19-CV-8076 (RA) (BCM)
        -against-                                       ORDER
 AEC ADVISORS, LLC, et al.,
                Defendants.

BARBARA MOSES, United States Magistrate Judge.

       The Court conducted a telephonic discovery conference on October 30, 2020. For the

reasons stated on the record during the conference, the parties' remaining discovery disputes, set

forth in their letters dated October 6, October 26, and October 29, 2020 (Dkt. Nos. 145, 150, and

152) are resolved as follows:

1.     Plaintiff shall promptly search for and, when located, produce the September 11, 2018
       version of the September 11, 2018 memorandum in electronic form (including metadata).
       If the required ESI has not been located and produced by November 9, 2020 (two days
       before the scheduled deposition of Renee Ring), plaintiff shall submit a letter, on ECF,
       updating the Court as to its search and production efforts.

2.     This Court's Order dated June 19, 2020 does not require defendants to produce a listing of
       all "EML files" (stored email files in plain text format) or all text messages on the
       individual defendants' cellphones and laptops.

       The discovery conference currently scheduled for November 5, 2020, at 12:00 p.m. is

ADJOURNED sine die.

       The Clerk of Court is respectfully directed to close the letter-motion at Dkt. No. 150.

Dated: New York, New York
       November 2, 2020
                                             SO ORDERED.



                                             ________________________________
                                             BARBARA MOSES
                                             United States Magistrate Judge
